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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

               In re:
                                                                             Chapter 11
                                                              1
               Prime Core Technologies Inc., et al.,
                                                                             Case No. 23-11161 (JKS)
                                                              Debtors.
                                                                             (Jointly Administered)


                                                            AFFIDAVIT OF SERVICE

                  I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                   Commencing on January 2, 2024, at my direction and under my supervision, employees of
           Stretto caused the following document to be served via electronic mail on the service list
           attached hereto as Exhibit A, and via electronic mail on one (1) confidential party not included
           herein:
                Third Monthly Fee Application of McDermott Will & Emery LLP, Counsel to the
                   Debtors, for Allowance of Compensation and Reimbursement of Expenses for The
                   Period From October 1, 2023 Through October 31, 2023 (Docket No. 674)

                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           document via electronic service.


           Dated: January 3, 2024                                                      _____________________________
                                                                                              Andrew K. Fitzpatrick
           State of Colorado                )
                                            ) SS.
           County of Denver                 )

           Subscribed and sworn before me this 3rd day of January 2024 by Andrew K. Fitzpatrick.

           __________________________
              (Notary’s official signature)




           ______________________________________________
           1
            The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
           are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
           (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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                    Exhibit A




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                                                                             Exhibit A
                                                                       Served via Electronic Mail
                              Name                           Attention 1                        Attention 2                    Email
                 Counsel to the Debtors            c/o McDermott Will & Emery LLP     Attn: Maris J. Kandestin      mkandestin@mwe.com
                                                                                      Attn: Darren Azman & Joseph   dazman@mwe.com
                 Counsel to the Debtors            c/o McDermott Will & Emery LLP     B. Evans                      Jbevans@mwe.com
                 Counsel to the Debtors            c/o McDermott Will & Emery LLP     Attn: Gregg Steinman          gsteinman@mwe.com
                 Office of The U.S. Trustee for
                 the District of Delaware          Attn: Linda Casey & Joseph Cudia                                  joseph.cudia@usdoj.gov
                                                                                      Attn: Robert J. Stark &        rstark@brownrudnick.com
                                                                                      Bennett S. Silverberg &        bsilverberg@brownrudnick.com
                 Official Committee of                                                Kenneth J. Aulet & Jennifer M. kaulet@brownrudnick.com
                 Unsecured Creditors               c/o Brown Rudnick LLP              Schein                         jschein@brownrudnick.com
                 Official Committee of             c/o Womble Bond Dickinson (US)     Attn: Donald J. Detweiler &    don.detweiler@wbd-us.com
                 Unsecured Creditors               LLP                                Elazar A. Kosman               elazar.kosman@wbd-us.com




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